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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

UNITED STATES                                        )
                                                     )
                       Plaintiff,                    )
                                                     )
       vs.                                           )   Case No. 1:23-mj-00009-GMH
                                                     )
KYLER J. BARD,                                       )
                                                     )
                       Defendant.                    )

                                    NOTICE OF APPEARANCE

       COMES NOW Joseph Passanise & Taylon Sumners of WAMPLER & PASSANISE, and

respectfully makes their Entry of Appearance herein for and on behalf of Defendant, Kyler Bard.

                                                     Respectfully Submitted

                                                     _______/s/Joseph Passanise__________
                                                     JOSEPH S. PASSANISE, MO Bar #46119
                                                     TAYLON M. SUMNERS, MO Bar #73114
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                                      Certificate of Service

        I hereby certify that on March 17, 2023, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which sent notification of such filing to Government.

                                                     _____/s/Joseph Passanise______________
                                                     Joseph S. Passanise
                                                     Taylon Sumners
                                                     Attorneys at Law



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